  Case 20-12914      Doc 40    Filed 10/23/20 Entered 10/26/20 08:15:11            Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:     20-12914
TONIECE M. ANDERSON,                        )
                                            )               Chapter: 13
                                            )
                                                            Honorable LaShonda Hunt
                                            )
                                            )               Joliet
               Debtor(s)                    )
                     ORDER SUSTAINING OBJECTION TO CLAIM NO. 2
                            (INTERNAL REVENUE SERVICE)

        THIS MATTER coming to be heard upon the Debtor's Objection to Claim, the Court having
jurisdiction over the parties and the subject matter and being duly advised in the premises and due
notice having been given to the parties entitled thereto:

  It is hereby ORDERED:

  1) Claim No. 2 by the Internal Revenue Service is disallowed as to tax years 2017 and 2019 in the
amount of $12,442.69 Unsecured Priority and replaced with $5,720.00 Unsecured Priority.

  2) The claim totals are as follows: Secured: $14,931.60 (as filed by the IRS), Unsecured General
$4,300.40 (as filed by the IRS) and Unsecured Priority $5,760.19 (amended amount).




                                                         Enter:


                                                                  Honorable LaShonda A. Hunt
Dated: October 23, 2020                                           United States Bankruptcy Judge

 Prepared by:
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